                                         Case 19-31484-sgj7                     Doc 909         Filed 07/29/22 Entered 07/29/22 11:48:47                                   Desc Main
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                                                                   Individual Estate Property Record and Report
                                                                                    Asset Cases
Case No.:    19-31484-SGJ-7                                                                                                                    Trustee Name:       (631510) Diane G. Reed
Case Name:      THE LASALLE GROUP, INC.                                                                                                        Date Filed (f) or Converted (c): 09/16/2020 (c)
                                                                                                                                               § 341(a) Meeting Date:      11/03/2020
For Period Ending:     06/30/2022                                                                                                              Claims Bar Date: 02/03/2021

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                                            Asset Description                                       Petition/                 Estimated Net Value          Property Formally         Sale/Funds                Asset Fully
                                 (Scheduled And Unscheduled (u) Property)                         Unscheduled            (Value Determined By Trustee,        Abandoned            Received by the          Administered (FA)/
                                                                                                     Values                 Less Liens, Exemptions,       OA=§554(a) abandon.          Estate                Gross Value of
  Ref. #                                                                                                                        and Other Costs)                                                            Remaining Assets

    1       OPERATING Account at JP MORGAN CHASE 700 NORTH PEARL STREET                                    121,146.34                        121,146.34                                              0.00                        FA
            FLOOR 14 SUITE 1400 DALLAS, TX 75201, xxxxxx5536
            This asset is part of the sale of assets to Origin Bank (see Motion Doc #866 and
            Order Doc #894). See Asset #226.

    2       HEALTH FUND Account at JP MORGAN CHASE 700 NORTH PEARL STREET                                   79,468.18                         79,468.18                                              0.00                        FA
            FLOOR 14 SUITE 1400 DALLAS, TX 75201, xxxxxx6070
            This asset is part of the sale of assets to Origin Bank (see Motion Doc #866 and
            Order Doc #894). See Asset #226.

    3       PAYROLL Account at JP MORGAN CHASE 700 NORTH PEARL STREET                                  1,528,090.65                        1,528,090.65                                              0.00                        FA
            FLOOR 14 SUITE 1400 DALLAS, TX 75201, xxxxxx5759
            This asset is part of the sale of assets to Origin Bank (see Motion Doc #866 and
            Order Doc #894). See Asset #226.

    4       MERCHANT ACCOUNT Account at JP MORGAN CHASE 700 NORTH PEARL                                     19,500.36                         19,500.36                                              0.00                        FA
            STREET FLOOR 14 SUITE 1400 DALLAS, TX 75201, xxxxxx5270
            This asset is part of the sale of assets to Origin Bank (see Motion Doc #866 and
            Order Doc #894). See Asset #226.

    5       OPERATING Account at DALLAS CAPITAL BANK 14185 DALLAS PARKWAY                                   31,277.04                         31,277.04                                              0.00                        FA
            SUITE 200 DALLAS, TX 75254, xxxxxx8361
            This asset is part of the sale of assets to Origin Bank (see Motion Doc #866 and
            Order Doc #894). See Asset #226.

    6       SECURITY CENTENNIAL CENTER, LLC PO BOX #11564 NEWARK, NJ 07101                                   2,483.69                          2,483.69           OA                                 0.00                        FA
            This asset was abandoned on 6/18/21 Doc 815.

    7       SECURITY HARTMAN SPE, LLC PO BOX 571017 HOUSTON, TX 77257                                       25,023.75                         25,023.75           OA                                 0.00                        FA
            This asset was abandoned on 6/18/21 Doc 815.

    8       SECURITY ONE PENSACOLA PLAZA C/O DUCKWORTH REALTY 308 EAST                                          138.75                           138.75           OA                                 0.00                        FA
            PEARL ST STE 200 JACKSON, MS 39201
            This asset was abandoned on 6/18/21 Doc 815.

    9       SECURITY ROSEMONT SUMMIT OPERATING, LLC P.O. BOX 203525                                          3,984.37                          3,984.37           OA                                 0.00                        FA
            DALLAS, TX 75320
            This asset was abandoned on 6/18/21 Doc 815.

    10      SECURITY THE BUNKER HILL BUILDING 9525 KATY FREEWAY SUITE 215                                    2,249.92                          2,249.92           OA                                 0.00                        FA
            KATY, TX 77024
            This asset was abandoned on 6/18/21 Doc 815.

    11      RETAINER CROWE & DUNLEVY, P.C.                                                                 328,928.39                        328,928.39           OA                                 0.00                        FA
            This asset was abandoned on 6/18/21 Doc 815.
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Case No.:    19-31484-SGJ-7                                                                                                        Trustee Name:        (631510) Diane G. Reed
Case Name:      THE LASALLE GROUP, INC.                                                                                            Date Filed (f) or Converted (c): 09/16/2020 (c)
                                                                                                                                   § 341(a) Meeting Date:       11/03/2020
For Period Ending:    06/30/2022                                                                                                   Claims Bar Date: 02/03/2021

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                                          Asset Description                              Petition/                Estimated Net Value           Property Formally         Sale/Funds                Asset Fully
                               (Scheduled And Unscheduled (u) Property)                Unscheduled           (Value Determined By Trustee,         Abandoned            Received by the          Administered (FA)/
                                                                                          Values                Less Liens, Exemptions,        OA=§554(a) abandon.          Estate                Gross Value of
  Ref. #                                                                                                            and Other Costs)                                                             Remaining Assets

    12      RETAINER DONLIN RECANO AND COMPANY INC                                              143,906.05                       143,906.05            OA                                 0.00                        FA
            This asset was abandoned on 6/18/21 Doc 815.

    13      RETAINER HARNEY PARTNERS                                                            125,635.00                       125,635.00            OA                                 0.00                        FA
            This asset was abandoned on 6/18/21 Doc 815.

    14      TAIL INSURANCE NATIONAL HEALTH INVESTORS                                            174,132.00                       174,132.00            OA                                 0.00                        FA
            This asset was abandoned on 6/18/21 Doc 815.

    15      PREPAID POSTAGE PITNEY BOWES                                                          3,866.35                         3,866.35            OA                                 0.00                        FA
            This asset was abandoned on 6/18/21 Doc 815.

    16      PREPAID PROPERTY & CASUALTY INSURANCE PROPERTY & CASUALTY                             5,835.15                         5,835.15            OA                                 0.00                        FA
            INSURANCE CARRIERS
            This asset was abandoned on 6/18/21 Doc 815.

    17      AL FLOWER MOUND MANAGEMENT, LLC 545 E. JOHN CARPENTER FRWY,                          Unknown                                0.00           OA                                 0.00                        FA
            SUITE 500 IRVING, TX 75062, 100% ownership.
            This asset was abandoned on 6/18/21 Doc 815.

    18      AMARILLO MEMORY CARE, LLC 545 E. JOHN CARPENTER FRWY, SUITE                          Unknown                                0.00           OA                                 0.00                        FA
            500 IRVING, TX 75062, 4.800% ownership.
            This asset was abandoned on 6/18/21 Doc 815.

    19      ARLINGTON REIT TENANT, LLC 545 E. JOHN CARPENTER FRWY, SUITE                         Unknown                                0.00           OA                                 0.00                        FA
            500 IRVING, TX 75062, 100% ownership.
             This asset was abandoned on 6/18/21 Doc 815.

    20      BOLINGBROOK REIT TENANT, LLC 545 E. JOHN CARPENTER FRWY, SUITE                       Unknown                                0.00           OA                                 0.00                        FA
            500 IRVING, TX 75062, 100% ownership.
            This asset was abandoned on 6/18/21 Doc 815.

    21      CARROLLTON AUTUMN LEAVES, LP 545 E. JOHN CARPENTER FRWY,                             Unknown                                0.00           OA                                 0.00                        FA
            SUITE 500 IRVING, TX 75062, 50.0% ownership.
            This asset was abandoned on 6/18/21 Doc 815.

    22      CARROLLTON OF LASALLE, LLC 545 E. JOHN CARPENTER FRWY, SUITE                         Unknown                                0.00           OA                                 0.00                        FA
            500 IRVING, TX 75062, 100% ownership.
            This asset was abandoned on 6/18/21 Doc 815.

    23      CLEAR LAKE ARC TENANT, LLC 545 E. JOHN CARPENTER FRWY, SUITE                         Unknown                                0.00           OA                                 0.00                        FA
            500 IRVING, TX 75062, 100% ownership.
            This asset was abandoned on 6/18/21 Doc 815.
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Case Name:     THE LASALLE GROUP, INC.                                                                                         Date Filed (f) or Converted (c): 09/16/2020 (c)
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For Period Ending:   06/30/2022                                                                                                Claims Bar Date: 02/03/2021

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                                         Asset Description                              Petition/             Estimated Net Value           Property Formally         Sale/Funds                Asset Fully
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  Ref. #                                                                                                        and Other Costs)                                                             Remaining Assets

    24      CORINTH ASSISTED CARE, LP 545 E. JOHN CARPENTER FRWY, SUITE 500                    Unknown                              0.00           OA                                 0.00                        FA
            IRVING, TX 75062, 32.500% ownership.
            This asset was abandoned on 6/18/21 Doc 815.

    25      CRYSTAL LAKE REIT TENANT, LLC 545 E. JOHN CARPENTER FRWY, SUITE                    Unknown                              0.00           OA                                 0.00                        FA
            500 IRVING, TX 75062, 100% ownership.
            This asset was abandoned on 6/18/21 Doc 815.

    26      CY-FAIR ARC TENANT, LLC 545 E. JOHN CARPENTER FRWY, SUITE 500                      Unknown                              0.00           OA                                 0.00                        FA
            IRVING, TX 75062, 100% ownership,.
            This asset was abandoned on 6/18/21 Doc 815.

    27      FLOWER MOUND AUTUMN LEAVES, LP 545 E. JOHN CARPENTER FRWY,                         Unknown                              0.00           OA                                 0.00                        FA
            SUITE 500 IRVING, TX 75062, 50.0% ownership,
            This asset was abandoned on 6/18/21 Doc 815.

    28      FORT MILL MEMORY CARE, LLC 545 E. JOHN CARPENTER FRWY, SUITE                       Unknown                              0.00           OA                                 0.00                        FA
            500 IRVING, TX 75062, 2.500% ownership.
            This asset was abandoned on 6/18/21 Doc 815.

    29      FRANKLIN PSH TENANT, LLC 545 E. JOHN CARPENTER FRWY, SUITE 500                     Unknown                              0.00           OA                                 0.00                        FA
            IRVING, TX 75062, 94.2500% ownership,.
            This asset was abandoned on 6/18/21 Doc 815.

    30      GURNEE MEMORY CARE, LLC 545 E. JOHN CARPENTER FRWY, SUITE 500                      Unknown                              0.00           OA                                 0.00                        FA
            IRVING, TX 75062, 5.00% ownership.
            This asset was abandoned on 6/18/21 Doc 815.

    31      LAKE SUPERIOR CONTRACTING, LP 545 E. JOHN CARPENTER FRWY,                          Unknown                              0.00           OA                                 0.00                        FA
            SUITE 500 IRVING, TX 75062, 99.00% ownership.
            This asset was abandoned on 6/18/21 Doc 815.

    32      LAKE SUPERIOR MANAGEMENT, LLC 545 E. JOHN CARPENTER FRWY,                          Unknown                              0.00           OA                                 0.00                        FA
            SUITE 500 IRVING, TX 75062, 100% ownership.
            This asset was abandoned on 6/18/21 Doc 815.

    33      LASALLE AMARILLO MANAGEMENT, LLC 545 E. JOHN CARPENTER FRWY,                       Unknown                              0.00           OA                                 0.00                        FA
            SUITE 500 IRVING, TX 75062, 100% ownership.
            This asset was abandoned on 6/18/21 Doc 815.

    34      LASALLE ARLINGTON HEIGHTS MANAGEMENT, LLC 545 E. JOHN                              Unknown                              0.00           OA                                 0.00                        FA
            CARPENTER FRWY, SUITE 500 IRVING, TX 75062, 100% ownership.
            This asset was abandoned on 6/18/21 Doc 815.

    35      LASALLE ASSISTED CARE, LLC 545 E. JOHN CARPENTER FRWY, SUITE 500                   Unknown                              0.00           OA                                 0.00                        FA
            IRVING, TX 75062, 100% ownership.
            This asset was abandoned on 6/18/21 Doc 815.
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Case No.:    19-31484-SGJ-7                                                                                                    Trustee Name:        (631510) Diane G. Reed
Case Name:     THE LASALLE GROUP, INC.                                                                                         Date Filed (f) or Converted (c): 09/16/2020 (c)
                                                                                                                               § 341(a) Meeting Date:       11/03/2020
For Period Ending:   06/30/2022                                                                                                Claims Bar Date: 02/03/2021

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                                         Asset Description                              Petition/             Estimated Net Value           Property Formally         Sale/Funds                Asset Fully
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                                                                                         Values             Less Liens, Exemptions,        OA=§554(a) abandon.          Estate                Gross Value of
  Ref. #                                                                                                        and Other Costs)                                                             Remaining Assets

    36      LASALLE CINCO RANCH MANAGEMENT, LLC 545 E. JOHN CARPENTER                          Unknown                              0.00           OA                                 0.00                        FA
            FRWY, SUITE 500 IRVING, TX 75062, 100% ownership.
            This asset was abandoned on 6/18/21 Doc 815.

    37      LASALLE CYPRESSWOOD MANAGEMENT, LLC 545 E. JOHN CARPENTER                          Unknown                              0.00           OA                                 0.00                        FA
            FRWY, SUITE 500 IRVING, TX 75062, 100% ownership.
            This asset was abandoned on 6/18/21 Doc 815.

    38      LASALLE DENTON MANAGEMENT, LLC 545 E. JOHN CARPENTER FRWY,                         Unknown                              0.00           OA                                 0.00                        FA
            SUITE 500 IRVING, TX 75062, 20.0% ownership.
            This asset was abandoned on 6/18/21 Doc 815.

    39      LASALLE ESTERO MANAGEMENT, LLC 545 E. JOHN CARPENTER FRWY,                         Unknown                              0.00           OA                                 0.00                        FA
            SUITE 500 IRVING, TX 75062, 100% ownership.
            This asset was abandoned on 6/18/21 Doc 815.

    40      LASALLE FORT MILL MANAGEMENT, LLC 545 E. JOHN CARPENTER FRWY,                      Unknown                              0.00           OA                                 0.00                        FA
            SUITE 500 IRVING, TX 75062, 100% ownership.
            This asset was abandoned on 6/18/21 Doc 815.

    41      LASALLE FOSSIL CREEK MANAGEMENT, LLC 545 E. JOHN CARPENTER                         Unknown                              0.00           OA                                 0.00                        FA
            FRWY, SUITE 500 IRVING, TX 75062, 5.200% ownership.
            This asset was abandoned on 6/18/21 Doc 815.

    42      LASALLE GEORGETOWN MANAGEMENT, LLC 545 E. JOHN CARPENTER                           Unknown                              0.00           OA                                 0.00                        FA
            FRWY, SUITE 500 IRVING, TX 75062, 100% ownership.
            This asset was abandoned on 6/18/21 Doc 815.

    43      LASALLE GREENVILLE MANAGEMENT, LLC 545 E. JOHN CARPENTER                           Unknown                              0.00           OA                                 0.00                        FA
            FRWY, SUITE 500 IRVING, TX 75062, 100% ownership.
            This asset was abandoned on 6/18/21 Doc 815.

    44      LASALLE GURNEE MANAGEMENT, LLC 545 E. JOHN CARPENTER FRWY,                         Unknown                              0.00           OA                                 0.00                        FA
            SUITE 500 IRVING, TX 75062, 100% ownership.
            This asset was abandoned on 6/18/21 Doc 815.

    45      LASALLE LEE'S SUMMIT MANAGEMENT, LLC 545 E. JOHN CARPENTER                         Unknown                              0.00           OA                                 0.00                        FA
            FRWY, SUITE 500 IRVING, TX 75062, 100% ownership.
            This asset was abandoned on 6/18/21 Doc 815.

    46      LASALLE NAPLE'S MANAGEMENT, LLC 545 E. JOHN CARPENTER FRWY,                        Unknown                              0.00           OA                                 0.00                        FA
            SUITE 500 IRVING,TX 75062, 100% ownership.
            This asset was abandoned on 6/18/21 Doc 815.

    47      LASALLE OF CORINTH, LLC 545 E. JOHN CARPENTER FRWY, SUITE 500                      Unknown                              0.00           OA                                 0.00                        FA
            IRVING, TX 75062, 100% ownership.
            This asset was abandoned on 6/18/21 Doc 815.
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Case No.:    19-31484-SGJ-7                                                                                                    Trustee Name:        (631510) Diane G. Reed
Case Name:     THE LASALLE GROUP, INC.                                                                                         Date Filed (f) or Converted (c): 09/16/2020 (c)
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For Period Ending:   06/30/2022                                                                                                Claims Bar Date: 02/03/2021

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                                         Asset Description                              Petition/             Estimated Net Value           Property Formally         Sale/Funds                Asset Fully
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                                                                                         Values             Less Liens, Exemptions,        OA=§554(a) abandon.          Estate                Gross Value of
  Ref. #                                                                                                        and Other Costs)                                                             Remaining Assets

    48      LASALLE ORLAND PARK MANAGEMENT, LLC 545 E. JOHN CARPENTER                          Unknown                              0.00           OA                                 0.00                        FA
            FRWY, SUITE 500 IRVING, TX 75062, 67.00% ownership.
            This asset was abandoned on 6/18/21 Doc 815.

    49      LASALLE OSWEGO MANAGEMENT, LLC 545 E. JOHN CARPENTER FRWY,                         Unknown                              0.00           OA                                 0.00                        FA
            SUITE 500 IRVING, TX 75062, 100% ownership.
            This asset was abandoned on 6/18/21 Doc 815.

    50      LASALLE OVERLAND PARK MANAGEMENT, LLC 545 E. JOHN CARPENTER                        Unknown                              0.00           OA                                 0.00                        FA
            FRWY, SUITE 500 IRVING, TX 75062, 100% ownership.
            This asset was abandoned on 6/18/21 Doc 815.

    51      LASALLE PEALAND MANAGEMENT, LLC 545 E. JOHN CARPENTER FRWY,                        Unknown                              0.00           OA                                 0.00                        FA
            SUITE 500 IRVING, TX 75062, 100% ownership.
            This asset was abandoned on 6/18/21 Doc 815.

    52      LASALLE RIVERSTONE MANAGEMENT, LLC 545 E. JOHN CARPENTER                           Unknown                              0.00           OA                                 0.00                        FA
            FRWY, SUITE 500 IRVING, TX 75062, 100% ownership.
            This asset was abandoned on 6/18/21 Doc 815.

    53      LASALLE SARASOTA MANAGEMENT, LLC 545 E. JOHN CARPENTER FRWY,                       Unknown                              0.00           OA                                 0.00                        FA
            SUITE 500 IRVING, TX 75062, 100% ownership.
            This asset was abandoned on 6/18/21 Doc 815.

    54      LASALLE SOUTH AUSTIN MANAGEMENT, LLC 545 E. JOHN CARPENTER                         Unknown                              0.00           OA                                 0.00                        FA
            FRWY, SUITE 500 IRVING, TX 75062, 100% ownership.
            This asset was abandoned on 6/18/21 Doc 815.

    55      LASALLE SOUTHWEST FT. WORTH MANAGEMENT, LLC 545 E. JOHN                            Unknown                              0.00           OA                                 0.00                        FA
            CARPENTER FRWY, SUITE 500 IRVING, TX 75062, 100% ownership.
            This asset was abandoned on 6/18/21 Doc 815.

    56      LASALLE ST. CHARLES MANAGEMENT, LLC 545 E. JOHN CARPENTER                          Unknown                              0.00           OA                                 0.00                        FA
            FRWY, SUITE 500 IRVING, TX 75062, 100% ownership.
            This asset was abandoned on 6/18/21 Doc 815.

    57      LASALLE STOCKBRIDGE MANAGEMENT, LLC 545 E. JOHN CARPENTER                          Unknown                              0.00           OA                                 0.00                        FA
            FRWY, SUITE 500 IRVING, TX 75062, 100% ownership.
            This asset was abandoned on 6/18/21 Doc 815.

    58      LASALLE STONE OAK MANAGEMENT, LLC 545 E. JOHN CARPENTER                            Unknown                              0.00           OA                                 0.00                        FA
            FRWY, SUITE 500 IRVING, TX 75062, 100% ownership.
            This asset was abandoned on 6/18/21 Doc 815.

    59      LASALLE SUGARLOAF MANAGEMENT, LLC 545 E. JOHN CARPENTER                            Unknown                              0.00           OA                                 0.00                        FA
            FRWY, SUITE 500 IRVING, TX 75062, 100% ownership.
            This asset was abandoned on 6/18/21 Doc 815.
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                                         Asset Description                              Petition/             Estimated Net Value           Property Formally         Sale/Funds                Asset Fully
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  Ref. #                                                                                                        and Other Costs)                                                             Remaining Assets

    60      LASALLE TOWNE LAKE MANAGEMENT, LLC 545 E. JOHN CARPENTER                           Unknown                              0.00           OA                                 0.00                        FA
            FRWY, SUITE 500 IRVING, TX 75062, 100% ownership.
            This asset was abandoned on 6/18/21 Doc 815.

    61      LASALLE TULSA MANAGEMENT, LLC 545 E. JOHN CARPENTER FRWY,                          Unknown                              0.00           OA                                 0.00                        FA
            SUITE 500 IRVING, TX 75062, 100% ownership.
            This asset was abandoned on 6/18/21 Doc 815.

    62      LASALLE VENICE MANAGEMENT, LLC 545 E. JOHN CARPENTER FRWY,                         Unknown                              0.00           OA                                 0.00                        FA
            SUITE 500 IRVING, TX 75062, 100% ownership.
            This asset was abandoned on 6/18/21 Doc 815.

    63      LASALLE VERNON HILLS MANAGEMENT, LLC 545 E. JOHN CARPENTER                         Unknown                              0.00           OA                                 0.00                        FA
            FRWY, SUITE 500 IRVING, TX 75062, 100% ownership.
            This asset was abandoned on 6/18/21 Doc 815.

    64      LASALLE WEST HOUSTON MANAGEMENT, LLC 545 E. JOHN CARPENTER                         Unknown                              0.00           OA                                 0.00                        FA
            FRWY, SUITE 500 IRVING, TX 75062, 100% ownership.
            This asset was abandoned on 6/18/21 Doc 815.

    65      LASALLE WESTOVER HILLS MANAGEMENT, LLC 545 E. JOHN CARPENTER                       Unknown                              0.00           OA                                 0.00                        FA
            FRWY, SUITE 500 IRVING, TX 75062, 100% ownership.
            This asset was abandoned on 6/18/21 Doc 815.

    66      LASALLE WHEELING MANAGEMENT, LLC 545 E. JOHN CARPENTER FRWY,                       Unknown                              0.00           OA                                 0.00                        FA
            SUITE 500 IRVING, TX 75062, 100% ownership.
            This asset was abandoned on 6/18/21 Doc 815.

    67      LASALLE WINDWARD MANAGEMENT, LLC 545 E. JOHN CARPENTER FRWY,                       Unknown                              0.00           OA                                 0.00                        FA
            SUITE 500 IRVING, TX 75062, 100% ownership.
            This asset was abandoned on 6/18/21 Doc 815.

    68      MEYERLAND ARC TENANT, LLC 545 E. JOHN CARPENTER FRWY, SUITE                        Unknown                              0.00           OA                                 0.00                        FA
            500 IRVING, TX 75062, 100% ownership.
            This asset was abandoned on 6/18/21 Doc 815.

    69      MWW DEVELOPMENT, LLC 545 E. JOHN CARPENTER FRWY, SUITE 500                         Unknown                              0.00           OA                                 0.00                        FA
            IRVING, TX 75062, 100% ownership.
            This asset was abandoned on 6/18/21 Doc 815.

    70      NAPLE'S MEMORY CARE, LLC 545 E. JOHN CARPENTER FRWY, SUITE 500                     Unknown                              0.00           OA                                 0.00                        FA
            IRVING, TX 75062, 2.500% ownership.
            This asset was abandoned on 6/18/21 Doc 815.

    71      ROCKWALL REIT TENANT, LLC 545 E. JOHN CARPENTER FRWY, SUITE 500                    Unknown                              0.00           OA                                 0.00                        FA
            IRVING, TX 75062, 100% ownership.
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                                            Asset Description                                       Petition/                 Estimated Net Value           Property Formally         Sale/Funds                Asset Fully
                                 (Scheduled And Unscheduled (u) Property)                         Unscheduled            (Value Determined By Trustee,         Abandoned            Received by the          Administered (FA)/
                                                                                                     Values                 Less Liens, Exemptions,        OA=§554(a) abandon.          Estate                Gross Value of
  Ref. #                                                                                                                        and Other Costs)                                                             Remaining Assets

    72      SARASOTA MEMORY CARE, LLC 545 E. JOHN CARPENTER FRWY, SUITE                                    Unknown                                  0.00           OA                                 0.00                        FA
            500 IRVING, TX 75062, 2.500% ownership.
            This asset was abandoned on 6/18/21 Doc 815.

    73      SOUTH AUSTIN MEMORY CARE, LLC 545 E. JOHN CARPENTER FRWY,                                      Unknown                                  0.00           OA                                 0.00                        FA
            SUITE 500 IRVING, TX 75062, 2.500% ownership.
            This asset was abandoned on 6/18/21 Doc 815.

    74      SOUTH BARRINGTON REIT TENANT, LLC 545 E. JOHN CARPENTER FRWY,                                  Unknown                                  0.00           OA                                 0.00                        FA
            SUITE 500 IRVING, TX 75062, 100% ownership.
            This asset was abandoned on 6/18/21 Doc 815.

    75      SOUTHWEST FT. WORTH MEMORY CARE, LLC 545 E. JOHN CARPENTER                                     Unknown                                  0.00           OA                                 0.00                        FA
            FRWY, SUITE 500 IRVING, TX 75062, 50.0% ownership.
            This asset was abandoned on 6/18/21 Doc 815.:

    76      STONE OAK MEMORY CARE, LLC 545 E. JOHN CARPENTER FRWY, SUITE                                   Unknown                                  0.00           OA                                 0.00                        FA
            500 IRVING, TX 75062, 5.00% ownership,.
            This asset was abandoned on 6/18/21 Doc 815.

    77      THE WOODLANDS ARC TENANT, LLC 545 E. JOHN CARPENTER FRWY,                                      Unknown                                  0.00           OA                                 0.00                        FA
            SUITE 500 IRVING, TX 75062, 100% ownership.
            This asset was abandoned on 6/18/21 Doc 815.

    78      VENICE MEMORY CARE, LLC 545 E. JOHN CARPENTER FRWY, SUITE 500                                  Unknown                                  0.00           OA                                 0.00                        FA
            IRVING, TX 75062, 3.800% ownership.
            This asset was abandoned on 6/18/21 Doc 815.

    79      WINFIELD DESIGN, LLC 545 E. JOHN CARPENTER FRWY, SUITE 500                                     Unknown                                  0.00           OA                                 0.00                        FA
            IRVING, TX 75062, 100% ownership.
            This asset was abandoned on 6/18/21 Doc 815.

    80      Other inventory or supplies: OFFICE SUPPLIES, , Net Book Value: 0, Valuation                        500.00                           500.00                                               0.00                        FA
            Method: LIQUIDATION
            This asset is part of the sale of assets to Origin Bank (see Motion Doc #866 and
            Order Doc #894). See Asset #226.

    81      OFFICE FURNITURE -- OWNED. Valuation Method: Liquidation                                       Unknown                                  0.00                                              0.00                        FA
            This asset is part of the sale of assets to Origin Bank (see Motion Doc #866 and
            Order Doc #894). See Asset #226.

    82      LEASED COPIERS. Valuation Method: Liquidation                                                  6,000.00                            6,000.00                                               0.00                        FA
            This asset is part of the sale of assets to Origin Bank (see Motion Doc #866 and
            Order Doc #894). See Asset #226.
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                                                                   Individual Estate Property Record and Report
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Case No.:    19-31484-SGJ-7                                                                                                                  Trustee Name:        (631510) Diane G. Reed
Case Name:      THE LASALLE GROUP, INC.                                                                                                      Date Filed (f) or Converted (c): 09/16/2020 (c)
                                                                                                                                             § 341(a) Meeting Date:       11/03/2020
For Period Ending:     06/30/2022                                                                                                            Claims Bar Date: 02/03/2021

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                                            Asset Description                                       Petition/               Estimated Net Value           Property Formally         Sale/Funds                Asset Fully
                                 (Scheduled And Unscheduled (u) Property)                         Unscheduled          (Value Determined By Trustee,         Abandoned            Received by the          Administered (FA)/
                                                                                                     Values               Less Liens, Exemptions,        OA=§554(a) abandon.          Estate                Gross Value of
  Ref. #                                                                                                                      and Other Costs)                                                             Remaining Assets

    83      COMPUTERS, PRINTERS, AND OTHER IT EQUIPMENT. Valuation Method:                                 10,000.00                        10,000.00                                               0.00                        FA
            Liquidation
            This asset is part of the sale of assets to Origin Bank (see Motion Doc #866 and
            Order Doc #894). See Asset #226.

    84      NETWORK STORAGE EQUIPMENT. Valuation Method: Liquidation                                       26,000.00                        26,000.00                                               0.00                        FA
            This asset is part of the sale of assets to Origin Bank (see Motion Doc #866 and
            Order Doc #894). See Asset #226.

    85      LEASED OFFICE SPACE ONE PENSACOLA PLAZA C/O DUCKWORTH                                          Unknown                                0.00           OA                                 0.00                        FA
            REALTY 125 W ROMANA ST, STE 215 PENSACOLA, FL 32502, LEASED
            OFFICE SPACE.
            This asset was abandoned on 6/18/21 Doc 815.

    86      LEASED OFFICE SPACE CENTENNIAL CENTER, LLC 1900 E GOLF ROAD,                                   Unknown                                0.00           OA                                 0.00                        FA
            STE 600 SCHAUMBURG, IL 60173, LEASED OFFICE SPACE.
            This asset was abandoned on 6/18/21 Doc 815.

    87      LEASED OFFICE SPACE ROSEMONT SUMMIT OPERATING, LLC 545 E.                                      Unknown                                0.00           OA                                 0.00                        FA
            JOHN CARPENTER FRWY, SUITE 500 IRVING, TX 75062, LEASED OFFICE
            SPACE.
            This asset was abandoned on 6/18/21 Doc 815.

    88      AUTUMN LEAVES TRADEMARK.                                                                       Unknown                                0.00           OA                                 0.00                        FA
            This asset was abandoned on 6/18/21 Doc 815.

    89      AUTUMNLEAVES.COM.                                                                              Unknown                                0.00           OA                                 0.00                        FA
            Internet domain names & websites -- AUTUMNLEAVES.COM. This asset was
            abandoned on 6/18/21 Doc 815.

    90      LASALLEGROUP.COM.                                                                              Unknown                                0.00           OA                                 0.00                        FA
            Internet domain names & websites -- LASALLEGROUP.COM. This asset was
            abandoned on 6/18/21 Doc 815.

    91      ADULTDAYSTAY.COM.                                                                              Unknown                                0.00           OA                                 0.00                        FA
            Internet domain names & websites -- ADULTDAYSTAY.COM. This asset was
            abandoned on 6/18/21 Doc 815.

    92      AUTUMN-LEAVES-LIVING.COM.                                                                      Unknown                                0.00           OA                                 0.00                        FA
            Internet domain names & websites -- AUTUMN-LEAVES-LIVING.COM. This
            asset was abandoned on 6/18/21 Doc 815.
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Case Name:      THE LASALLE GROUP, INC.                                                                                           Date Filed (f) or Converted (c): 09/16/2020 (c)
                                                                                                                                  § 341(a) Meeting Date:       11/03/2020
For Period Ending:    06/30/2022                                                                                                  Claims Bar Date: 02/03/2021

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                                         Asset Description                                 Petition/             Estimated Net Value           Property Formally         Sale/Funds                Asset Fully
                              (Scheduled And Unscheduled (u) Property)                   Unscheduled        (Value Determined By Trustee,         Abandoned            Received by the          Administered (FA)/
                                                                                            Values             Less Liens, Exemptions,        OA=§554(a) abandon.          Estate                Gross Value of
  Ref. #                                                                                                           and Other Costs)                                                             Remaining Assets

    93      AUTUMNLEAVES.COM.                                                                     Unknown                              0.00           OA                                 0.00                        FA
            Internet domain names & websites -- AUTUMNLEAVES.COM. This asset was
            abandoned on 6/18/21 Doc 815.

    94      AUTUMNLEAVESFOUNDATION.COM.                                                           Unknown                              0.00           OA                                 0.00                        FA
            Internet domain names & websites -- AUTUMNLEAVESFOUNDATION.COM.
            This asset was abandoned on 6/18/21 Doc 815.

    95      AUTUMNLEAVESFOUNDATION.ORG.                                                           Unknown                              0.00           OA                                 0.00                        FA
            Internet domain names & websites -- AUTUMNLEAVESFOUNDATION.ORG.
            This asset was abandoned on 6/18/21 Doc 815.

    96      AUTUMNLEAVESLIVING.COM.                                                               Unknown                              0.00           OA                                 0.00                        FA
            Internet domain names & websites -- AUTUMNLEAVESLIVING.COM. This asset
            was abandoned on 6/18/21 Doc 815.

    97      AUTUMNLEAVESRES.COM.                                                                  Unknown                              0.00           OA                                 0.00                        FA
            Internet domain names & websites -- AUTUMNLEAVESRES.COM. This asset
            was abandoned on 6/18/21 Doc 815.

    98      AUTUMNLEAVESSUX.COM.                                                                  Unknown                              0.00           OA                                 0.00                        FA
            Internet domain names & websites -- AUTUMNLEAVESSUX.COM. This asset
            was abandoned on 6/18/21 Doc 815.

    99      AUTUMNLEAVESUCKS.COM.                                                                 Unknown                              0.00           OA                                 0.00                        FA
            Internet domain names & websites -- AUTUMNLEAVESUCKS.COM. This asset
            was abandoned on 6/18/21 Doc 815.

   100      AUTUMNOAKSLIVING.COM.                                                                 Unknown                              0.00           OA                                 0.00                        FA
            Internet domain names & websites -- AUTUMNOAKSLIVING.COM. This asset
            was abandoned on 6/18/21 Doc 815.

   101      AWFAMILYCARE.COM.                                                                     Unknown                              0.00           OA                                 0.00                        FA
            Internet domain names & websites -- AWFAMILYCARE.COM. This asset was
            abandoned on 6/18/21 Doc 815.

   102      CCFAMILYHOSPICE.COM.                                                                  Unknown                              0.00           OA                                 0.00                        FA
            Internet domain names & websites -- CCFAMILYHOSPICE.COM. This asset was
            abandoned on 6/18/21 Doc 815.
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Case No.:    19-31484-SGJ-7                                                                                                     Trustee Name:        (631510) Diane G. Reed
Case Name:      THE LASALLE GROUP, INC.                                                                                         Date Filed (f) or Converted (c): 09/16/2020 (c)
                                                                                                                                § 341(a) Meeting Date:       11/03/2020
For Period Ending:    06/30/2022                                                                                                Claims Bar Date: 02/03/2021

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                                         Asset Description                               Petition/             Estimated Net Value           Property Formally         Sale/Funds                Asset Fully
                              (Scheduled And Unscheduled (u) Property)                 Unscheduled        (Value Determined By Trustee,         Abandoned            Received by the          Administered (FA)/
                                                                                          Values             Less Liens, Exemptions,        OA=§554(a) abandon.          Estate                Gross Value of
  Ref. #                                                                                                         and Other Costs)                                                             Remaining Assets

   103      CCFHOSPICE.COM.                                                                     Unknown                              0.00           OA                                 0.00                        FA
            Internet domain names & websites -- CCFHOSPICE.COM. This asset was
            abandoned on 6/18/21 Doc 815.

   104      CCFMGMT.COM.                                                                        Unknown                              0.00           OA                                 0.00                        FA
            Internet domain names & websites -- CCFMGMT.COM. This asset was
            abandoned on 6/18/21 Doc 815.

   105      CCFMGT.COM.                                                                         Unknown                              0.00           OA                                 0.00                        FA
            Internet domain names & websites -- CCFMGT.COM. This asset was abandoned
            on 6/18/21 Doc 815.

   106      CCHOSPICE.COM.                                                                      Unknown                              0.00           OA                                 0.00                        FA
            Internet domain names & websites -- CCHOSPICE.COM. This asset was
            abandoned on 6/18/21 Doc 815.

   107      CONSTANTCARECORP.COM.                                                               Unknown                              0.00           OA                                 0.00                        FA
            Internet domain names & websites -- CONSTANTCARECORP.COM. This asset
            was abandoned on 6/18/21 Doc 815.

   108      CONSTANTCAREFAMILYHOSPICE.COM.                                                      Unknown                              0.00           OA                                 0.00                        FA
            Internet domain names & websites -- CONSTANTCAREFAMILYHOSPICE.COM.
            This asset was abandoned on 6/18/21 Doc 815.

   109      CONSTANTCAREFM.COM.                                                                 Unknown                              0.00           OA                                 0.00                        FA
            Internet domain names & websites -- CONSTANTCAREFM.COM. This asset
            was abandoned on 6/18/21 Doc 815.

   110      CONSTANTCAREHOSPICE.COM.                                                            Unknown                              0.00           OA                                 0.00                        FA
            Internet domain names & websites -- CONSTANTCAREHOSPICE.COM. This
            asset was abandoned on 6/18/21 Doc 815.

   111      CONSTANTCAREMGMT.COM.                                                               Unknown                              0.00           OA                                 0.00                        FA
            Internet domain names & websites -- CONSTANTCAREMGMT.COM. This asset
            was abandoned on 6/18/21 Doc 815.

   112      CUTNFLUFF.COM.                                                                      Unknown                              0.00           OA                                 0.00                        FA
            Internet domain names & websites -- CUTNFLUFF.COM. This asset was
            abandoned on 6/18/21 Doc 815.
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Case Name:      THE LASALLE GROUP, INC.                                                                                         Date Filed (f) or Converted (c): 09/16/2020 (c)
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For Period Ending:    06/30/2022                                                                                                Claims Bar Date: 02/03/2021

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                                         Asset Description                               Petition/             Estimated Net Value           Property Formally         Sale/Funds                Asset Fully
                              (Scheduled And Unscheduled (u) Property)                 Unscheduled        (Value Determined By Trustee,         Abandoned            Received by the          Administered (FA)/
                                                                                          Values             Less Liens, Exemptions,        OA=§554(a) abandon.          Estate                Gross Value of
  Ref. #                                                                                                         and Other Costs)                                                             Remaining Assets

   113      ENCOREADULTDAYSTAY.COM.                                                             Unknown                              0.00           OA                                 0.00                        FA
            Internet domain names & websites -- ENCOREADULTDAYSTAY.COM. This
            asset was abandoned on 6/18/21 Doc 815.

   114      ENCOREDAILYENRICHMENT.COM.                                                          Unknown                              0.00           OA                                 0.00                        FA
            Internet domain names & websites -- ENCOREDAILYENRICHMENT.COM. This
            asset was abandoned on 6/18/21 Doc 815.

   115      ENCOREDAY.COM.                                                                      Unknown                              0.00           OA                                 0.00                        FA
            Internet domain names & websites -- ENCOREDAY.COM. This asset was
            abandoned on 6/18/21 Doc 815.

   116      FAMCAREMGMT.COM.                                                                    Unknown                              0.00           OA                                 0.00                        FA
            Internet domain names & websites -- FAMCAREMGMT.COM. This asset was
            abandoned on 6/18/21 Doc 815.

   117      FAMCAREMGT.COM.                                                                     Unknown                              0.00           OA                                 0.00                        FA
            Internet domain names & websites -- FAMCAREMGT.COM. This asset was
            abandoned on 6/18/21 Doc 815.

   118      FAMILYCARELIVING.COM.                                                               Unknown                              0.00           OA                                 0.00                        FA
            Internet domain names & websites -- FAMILYCARELIVING.COM. This asset was
            abandoned on 6/18/21 Doc 815.

   119      FASHIONSONTHEMOVE.COM.                                                              Unknown                              0.00           OA                                 0.00                        FA
            Internet domain names & websites -- FASHIONSONTHEMOVE.COM. This asset
            was abandoned on 6/18/21 Doc 815.

   120      GOLFFORACAUSE.COM.                                                                  Unknown                              0.00           OA                                 0.00                        FA
            Internet domain names & websites -- GOLFFORACAUSE.COM. This asset was
            abandoned on 6/18/21 Doc 815.

   121      KMWPALAZZO.COM.                                                                     Unknown                              0.00           OA                                 0.00                        FA
            Internet domain names & websites -- KMWPALAZZO.COM. This asset was
            abandoned on 6/18/21 Doc 815.

   122      KMWRESIDENCE.COM.                                                                   Unknown                              0.00           OA                                 0.00                        FA
            Internet domain names & websites -- KMWRESIDENCE.COM. This asset was
            abandoned on 6/18/21 Doc 815.
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Case Name:      THE LASALLE GROUP, INC.                                                                                              Date Filed (f) or Converted (c): 09/16/2020 (c)
                                                                                                                                     § 341(a) Meeting Date:       11/03/2020
For Period Ending:    06/30/2022                                                                                                     Claims Bar Date: 02/03/2021

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                                          Asset Description                                   Petition/             Estimated Net Value           Property Formally         Sale/Funds                Asset Fully
                               (Scheduled And Unscheduled (u) Property)                     Unscheduled        (Value Determined By Trustee,         Abandoned            Received by the          Administered (FA)/
                                                                                               Values             Less Liens, Exemptions,        OA=§554(a) abandon.          Estate                Gross Value of
  Ref. #                                                                                                              and Other Costs)                                                             Remaining Assets

   123      LAKESUPERIORCONTRACTING.COM.                                                             Unknown                              0.00           OA                                 0.00                        FA
            Internet domain names & websites -- LAKESUPERIORCONTRACTING.COM.
            This asset was abandoned on 6/18/21 Doc 815.

   124      LASALLE-UNIVERSITY.COM.                                                                  Unknown                              0.00           OA                                 0.00                        FA
            Internet domain names & websites -- LASALLE-UNIVERSITY.COM. This asset
            was abandoned on 6/18/21 Doc 815.

   125      LASALLECUSTOMHOMES.COM.                                                                  Unknown                              0.00           OA                                 0.00                        FA
            Internet domain names & websites -- LASALLECUSTOMHOMES.COM. This
            asset was abandoned on 6/18/21 Doc 815.

   126      LASALLEEQUITY.COM.                                                                       Unknown                              0.00           OA                                 0.00                        FA
            Internet domain names & websites -- LASALLEEQUITY.COM. This asset was
            abandoned on 6/18/21 Doc 815.

   127      LASALLEGROUP.COM.                                                                        Unknown                              0.00           OA                                 0.00                        FA
            Internet domain names & websites -- LASALLEGROUP.COM. This asset was
            abandoned on 6/18/21 Doc 815.

   128      LASALLELEARNING.COM.                                                                     Unknown                              0.00           OA                                 0.00                        FA
            Internet domain names & websites -- LASALLELEARNING.COM.          This asset
            was abandoned on 6/18/21 Doc 815.

   129      LASALLELEARNING.ORG.                                                                     Unknown                              0.00           OA                                 0.00                        FA
            Internet domain names & websites -- LASALLELEARNING.ORG. This asset was
            abandoned on 6/18/21 Doc 815.

   130      LASALLEQUITY.COM.                                                                        Unknown                              0.00           OA                                 0.00                        FA
            Internet domain names & websites -- LASALLEQUITY.COM.         This asset was
            abandoned on 6/18/21 Doc 815.

   131      LESALONGROUP.COM.                                                                        Unknown                              0.00           OA                                 0.00                        FA
            Internet domain names & websites -- LESALONGROUP.COM.          This asset was
            abandoned on 6/18/21 Doc 815.

   132      LGCC.COM.                                                                                Unknown                              0.00           OA                                 0.00                        FA
            Internet domain names & websites -- LGCC.COM. This asset was abandoned on
            6/18/21 Doc 815.
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Case Name:      THE LASALLE GROUP, INC.                                                                                       Date Filed (f) or Converted (c): 09/16/2020 (c)
                                                                                                                              § 341(a) Meeting Date:       11/03/2020
For Period Ending:    06/30/2022                                                                                              Claims Bar Date: 02/03/2021

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                                         Asset Description                             Petition/             Estimated Net Value           Property Formally         Sale/Funds                Asset Fully
                              (Scheduled And Unscheduled (u) Property)               Unscheduled        (Value Determined By Trustee,         Abandoned            Received by the          Administered (FA)/
                                                                                        Values             Less Liens, Exemptions,        OA=§554(a) abandon.          Estate                Gross Value of
  Ref. #                                                                                                       and Other Costs)                                                             Remaining Assets

   133      MASONWARREN.COM.                                                                  Unknown                              0.00           OA                                 0.00                        FA
            Internet domain names & websites -- MASONWARREN.COM. This asset was
            abandoned on 6/18/21 Doc 815.

   134      MEMORYFDN.COM.                                                                    Unknown                              0.00           OA                                 0.00                        FA
            Internet domain names & websites -- MEMORYFDN.COM. This asset was
            abandoned on 6/18/21 Doc 815.

   135      MEMORYFDN.ORG.                                                                    Unknown                              0.00           OA                                 0.00                        FA
            Internet domain names & websites -- MEMORYFDN.ORG. This asset was
            abandoned on 6/18/21 Doc 815.

   136      MERIDIANRESEARCHGROUP.COM.                                                        Unknown                              0.00           OA                                 0.00                        FA
            Internet domain names & websites -- MERIDIANRESEARCHGROUP.COM. This
            asset was abandoned on 6/18/21 Doc 815.

   137      MORNINGSPRINGS.COM.                                                               Unknown                              0.00           OA                                 0.00                        FA
            Internet domain names & websites -- MORNINGSPRINGS.COM. This asset was
            abandoned on 6/18/21 Doc 815.

   138      MWWDEVELOPMENT.COM.                                                               Unknown                              0.00           OA                                 0.00                        FA
            Internet domain names & websites -- MWWDEVELOPMENT.COM. This asset
            was abandoned on 6/18/21 Doc 815.

   139      MWWFAMILY.COM.                                                                    Unknown                              0.00           OA                                 0.00                        FA
            Internet domain names & websites -- MWWFAMILY.COM. This asset was
            abandoned on 6/18/21 Doc 815.

   140      THEAUTUMNLEAVESFOUNDATION.COM.                                                    Unknown                              0.00           OA                                 0.00                        FA
            Internet domain names & websites -- THEAUTUMNLEAVESFOUNDATION.COM.
            This asset was abandoned on 6/18/21 Doc 815.

   141      THEAUTUMNLEAVESFOUNDATION.ORG.                                                    Unknown                              0.00           OA                                 0.00                        FA
            Internet domain names & websites -- THEAUTUMNLEAVESFOUNDATION.ORG.
            This asset was abandoned on 6/18/21 Doc 815.

   142      THELASALLEGROUP-UNIVERSITY.COM.                                                   Unknown                              0.00           OA                                 0.00                        FA
            Internet domain names & websites -- THELASALLEGROUP-UNIVERSITY.COM.
            This asset was abandoned on 6/18/21 Doc 815.
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Case Name:      THE LASALLE GROUP, INC.                                                                                            Date Filed (f) or Converted (c): 09/16/2020 (c)
                                                                                                                                   § 341(a) Meeting Date:       11/03/2020
For Period Ending:     06/30/2022                                                                                                  Claims Bar Date: 02/03/2021

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                                          Asset Description                                 Petition/             Estimated Net Value           Property Formally         Sale/Funds                Asset Fully
                               (Scheduled And Unscheduled (u) Property)                   Unscheduled        (Value Determined By Trustee,         Abandoned            Received by the          Administered (FA)/
                                                                                             Values             Less Liens, Exemptions,        OA=§554(a) abandon.          Estate                Gross Value of
  Ref. #                                                                                                            and Other Costs)                                                             Remaining Assets

   143      THELASALLEGROUP.COM.                                                                   Unknown                              0.00           OA                                 0.00                        FA
            Internet domain names & websites -- THELASALLEGROUP.COM. This asset
            was abandoned on 6/18/21 Doc 815.

   144      THELASALLEGROUPINC.COM.                                                                Unknown                              0.00           OA                                 0.00                        FA
            Internet domain names & websites -- THELASALLEGROUPINC.COM. This
            asset was abandoned on 6/18/21 Doc 815.

   145      THEMEMORYCARE.ORG.                                                                     Unknown                              0.00           OA                                 0.00                        FA
            Internet domain names & websites -- THEMEMORYCARE.ORG. This asset was
            abandoned on 6/18/21 Doc 815.

   146      THEMEMORYCAREFOUNDATION.COM.                                                           Unknown                              0.00           OA                                 0.00                        FA
            Internet domain names & websites -- THEMEMORYCAREFOUNDATION.COM.
            This asset was abandoned on 6/18/21 Doc 815.

   147      THEMEMORYCAREFOUNDATION.ORG.                                                           Unknown                              0.00           OA                                 0.00                        FA
            Internet domain names & websites -- THEMEMORYCAREFOUNDATION.ORG.
            This asset was abandoned on 6/18/21 Doc 815.

   148      THEWHITLEY.COM.                                                                        Unknown                              0.00           OA                                 0.00                        FA
            Internet domain names & websites -- THEWHITLEY.COM. This asset was
            abandoned on 6/18/21 Doc 815.

   149      THEWHITLEYASSISTEDLIVING.COM.                                                          Unknown                              0.00           OA                                 0.00                        FA
            Internet domain names & websites -- THEWHITLEYASSISTEDLIVING.COM.
            This asset was abandoned on 6/18/21 Doc 815.

   150      THEWHITLEYOFWHEELING.COM.                                                              Unknown                              0.00           OA                                 0.00                        FA
            Internet domain names & websites -- THEWHITLEYOFWHEELING.COM. This
            asset was abandoned on 6/18/21 Doc 815.

   151      TLG-UNIVERSITY.COM.                                                                    Unknown                              0.00           OA                                 0.00                        FA
            Internet domain names & websites -- TLG-UNIVERSITY.COM. Notice of Intent to
            Abandon, Doc 828, 8/3/21.

   152      TLGCC.COM.                                                                             Unknown                              0.00           OA                                 0.00                        FA
            Internet domain names & websites -- TLGCC.COM. Notice of Intent to Abandon,
            Doc 828, 8/3/21.
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Case No.:    19-31484-SGJ-7                                                                                                        Trustee Name:        (631510) Diane G. Reed
Case Name:      THE LASALLE GROUP, INC.                                                                                            Date Filed (f) or Converted (c): 09/16/2020 (c)
                                                                                                                                   § 341(a) Meeting Date:       11/03/2020
For Period Ending:      06/30/2022                                                                                                 Claims Bar Date: 02/03/2021

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                                           Asset Description                                Petition/             Estimated Net Value           Property Formally         Sale/Funds                Asset Fully
                                (Scheduled And Unscheduled (u) Property)                  Unscheduled        (Value Determined By Trustee,         Abandoned            Received by the          Administered (FA)/
                                                                                             Values             Less Liens, Exemptions,        OA=§554(a) abandon.          Estate                Gross Value of
  Ref. #                                                                                                            and Other Costs)                                                             Remaining Assets

   153      TLGEMAIL.COM.                                                                          Unknown                              0.00           OA                                 0.00                        FA
            Internet domain names & websites -- TLGEMAIL.COM. Notice of Intent to
            Abandon, Doc 828, 8/3/21.

   154      TLGFAMILYMANAGEMENT.COM.                                                               Unknown                              0.00           OA                                 0.00                        FA
            Internet domain names & websites -- TLGFAMILYMANAGEMENT.COM. Notice
            of Intent to Abandon, Doc 828, 8/3/21.

   155      TLGFAMILYMGMT.COM.                                                                     Unknown                              0.00           OA                                 0.00                        FA
            Internet domain names & websites -- TLGFAMILYMGMT.COM. Notice of Intent to
            Abandon, Doc 828, 8/3/21.

   156      TLGFM.COM.                                                                             Unknown                              0.00           OA                                 0.00                        FA
            Internet domain names & websites -- TLGFM.COM. Notice of Intent to Abandon,
            Doc 828, 8/3/21.

   157      TLGFMGMT.COM.                                                                          Unknown                              0.00           OA                                 0.00                        FA
            Internet domain names & websites -- TLGFMGMT.COM. Notice of Intent to
            Abandon, Doc 828, 8/3/21.

   158      TLGI.COM.                                                                              Unknown                              0.00           OA                                 0.00                        FA
            Internet domain names & websites -- TLGI.COM. Notice of Intent to Abandon,
            Doc 828, 8/3/21.

   159      TLGU.ORG.                                                                              Unknown                              0.00           OA                                 0.00                        FA
            Internet domain names & websites -- TLGU.ORG. Notice of Intent to Abandon,
            Doc 828, 8/3/21.

   160      TLGUNIVERSITY.ORG.                                                                     Unknown                              0.00           OA                                 0.00                        FA
            Internet domain names & websites -- TLGUNIVERSITY.ORG. Notice of Intent to
            Abandon, Doc 828, 8/3/21.

   161      TLGUNIVERSTIDY.ORG.                                                                    Unknown                              0.00           OA                                 0.00                        FA
            Internet domain names & websites -- TLGUNIVERSTIDY.ORG. Notice of Intent to
            Abandon, Doc 828, 8/3/21.

   162      TLSGI.COM.                                                                             Unknown                              0.00           OA                                 0.00                        FA
            Internet domain names & websites -- TLSGI.COM. Notice of Intent to Abandon,
            Doc 828, 8/3/21.
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Case No.:    19-31484-SGJ-7                                                                                                       Trustee Name:        (631510) Diane G. Reed
Case Name:      THE LASALLE GROUP, INC.                                                                                           Date Filed (f) or Converted (c): 09/16/2020 (c)
                                                                                                                                  § 341(a) Meeting Date:       11/03/2020
For Period Ending:    06/30/2022                                                                                                  Claims Bar Date: 02/03/2021

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                                          Asset Description                             Petition/                Estimated Net Value           Property Formally         Sale/Funds                Asset Fully
                               (Scheduled And Unscheduled (u) Property)               Unscheduled           (Value Determined By Trustee,         Abandoned            Received by the          Administered (FA)/
                                                                                         Values                Less Liens, Exemptions,        OA=§554(a) abandon.          Estate                Gross Value of
  Ref. #                                                                                                           and Other Costs)                                                             Remaining Assets

   163      TMCNP.ORG.                                                                          Unknown                                0.00           OA                                 0.00                        FA
            Internet domain names & websites -- TMCNP.ORG. This asset was abandoned
            on 6/18/21 Doc 815.

   164      VERNONHILLSGOLFFORACAUSE.COM.                                                       Unknown                                0.00           OA                                 0.00                        FA
            Internet domain names & websites -- VERNONHILLSGOLFFORACAUSE.COM.
            This asset was abandoned on 6/18/21 Doc 815.

   165      WHITLEYASSISTED.COM.                                                                Unknown                                0.00           OA                                 0.00                        FA
            Internet domain names & websites -- WHITLEYASSISTED.COM. This asset was
            abandoned on 6/18/21 Doc 815.

   166      WHITLEYASSISTEDLIVING.COM.                                                          Unknown                                0.00           OA                                 0.00                        FA
            Internet domain names & websites -- WHITLEYASSISTEDLIVING.COM. This
            asset was abandoned on 6/18/21 Doc 815.

   167      WHITLEYASSISTEDLIVING.NET.                                                          Unknown                                0.00           OA                                 0.00                        FA
            Internet domain names & websites -- WHITLEYASSISTEDLIVING.NET. This
            asset was abandoned on 6/18/21 Doc 815.

   168      WHITLEYLIVING.COM.                                                                  Unknown                                0.00           OA                                 0.00                        FA
            Internet domain names & websites -- WHITLEYLIVING.COM. This asset was
            abandoned on 6/18/21 Doc 815.

   169      WHITLEYMANOR.COM.                                                                   Unknown                                0.00           OA                                 0.00                        FA
            Internet domain names & websites -- WHITLEYMANOR.COM. This asset was
            abandoned on 6/18/21 Doc 815.

   170      WHITLEYWHEELING.COM.                                                                Unknown                                0.00           OA                                 0.00                        FA
            Internet domain names & websites -- WHITLEYWHEELING.COM. This asset
            was abandoned on 6/18/21 Doc 815.

   171      WINDESIGNLLC.COM.                                                                   Unknown                                0.00           OA                                 0.00                        FA
            Internet domain names & websites -- WINDESIGNLLC.COM. This asset was
            abandoned on 6/18/21 Doc 815.

   172      RECEIVABLE FROM PRESTONEWOOD ENCORE                                                966,600.11                       966,600.11            OA                                 0.00                        FA
            This asset was abandoned on 6/18/21 Doc 815.
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Case No.:    19-31484-SGJ-7                                                                                                       Trustee Name:       (631510) Diane G. Reed
Case Name:      THE LASALLE GROUP, INC.                                                                                           Date Filed (f) or Converted (c): 09/16/2020 (c)
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For Period Ending:    06/30/2022                                                                                                  Claims Bar Date: 02/03/2021

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                                          Asset Description                            Petition/                 Estimated Net Value          Property Formally         Sale/Funds                Asset Fully
                               (Scheduled And Unscheduled (u) Property)              Unscheduled            (Value Determined By Trustee,        Abandoned            Received by the          Administered (FA)/
                                                                                        Values                 Less Liens, Exemptions,       OA=§554(a) abandon.          Estate                Gross Value of
  Ref. #                                                                                                           and Other Costs)                                                            Remaining Assets

   173      RECEIVABLE FROM ACP I                                                                  450.00                           450.00           OA                                 0.00                        FA
            This asset was abandoned on 6/18/21 Doc 815.

   174      RECEIVABLE FROM ARLINGTON AUTUMN LEAVES, L.P.                                          912.25                           912.25           OA                                 0.00                        FA
            This asset was abandoned on 6/18/21 Doc 815.

   175      RECEIVABLE FROM ARLINGTON HEIGHTS MEMORY CARE                                       3,622.67                          3,622.67           OA                                 0.00                        FA
            This asset was abandoned on 6/18/21 Doc 815.

   176      RECEIVABLE FROM AUTUMN LEAVES FOUNDATION                                           88,919.35                         88,919.35           OA                                 0.00                        FA
            This asset was abandoned on 6/18/21 Doc 815.

   177      RECEIVABLE FROM BOLLINGBROOK                                                      282,318.80                        282,318.80           OA                                 0.00                        FA
            This asset was abandoned on 6/18/21 Doc 815.

   178      RECEIVABLE FROM CAR LANDCO                                                          7,624.50                          7,624.50           OA                                 0.00                        FA
            This asset was abandoned on 6/18/21 Doc 815.

   179      RECEIVABLE FROM CARROLLTON AUTUMN LEAVES, L.P.                                2,139,645.84                        2,139,645.84           OA                                 0.00                        FA
            This asset was abandoned on 6/18/21 Doc 815.

   180      RECEIVABLE FROM CATHERINE BROWNLEE                                                 11,645.12                         11,645.12           OA                                 0.00                        FA
            This asset was abandoned on 6/18/21 Doc 815.

   181      RECEIVABLE FROM CINCO RANCH AUTUMN LEAVES                                     1,889,933.12                        1,889,933.12           OA                                 0.00                        FA
            This asset was abandoned on 6/18/21 Doc 815.

   182      RECEIVABLE FROM CITYVIEW MEMORY CARE LLC                                          435,687.24                        435,687.24           OA                                 0.00                        FA
            This asset was abandoned on 6/18/21 Doc 815.

   183      RECEIVABLE FROM CORINTH ASSISTED CARE                                         1,136,743.55                        1,136,743.55           OA                                 0.00                        FA
            This asset was abandoned on 6/18/21 Doc 815.

   184      RECEIVABLE FROM CORINTH AUTUMN OAKS                                           1,231,431.82                        1,231,431.82           OA                                 0.00                        FA
            This asset was abandoned on 6/18/21 Doc 815.

   185      RECEIVABLE FROM CORNITH AO DEVELOPER FEE                                          938,941.00                        938,941.00           OA                                 0.00                        FA
            This asset was abandoned on 6/18/21 Doc 815.
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Case Name:      THE LASALLE GROUP, INC.                                                                                          Date Filed (f) or Converted (c): 09/16/2020 (c)
                                                                                                                                 § 341(a) Meeting Date:      11/03/2020
For Period Ending:    06/30/2022                                                                                                 Claims Bar Date: 02/03/2021

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                                          Asset Description                            Petition/                Estimated Net Value          Property Formally         Sale/Funds                Asset Fully
                               (Scheduled And Unscheduled (u) Property)              Unscheduled           (Value Determined By Trustee,        Abandoned            Received by the          Administered (FA)/
                                                                                        Values                Less Liens, Exemptions,       OA=§554(a) abandon.          Estate                Gross Value of
  Ref. #                                                                                                          and Other Costs)                                                            Remaining Assets

   186      RECEIVABLE FROM CUT N FLUFF LLC                                                     6,966.34                         6,966.34           OA                                 0.00                        FA
            This asset was abandoned on 6/18/21 Doc 815.

   187      RECEIVABLE FROM CY FAIR AUTUMN LEAVES                                         1,204,696.53                       1,204,696.53           OA                                 0.00                        FA
            This asset was abandoned on 6/18/21 Doc 815.

   188      RECEIVABLE FROM CYPRESSWOOD MEMORY CARE LLC                                       378,182.01                       378,182.01           OA                                 0.00                        FA
            This asset was abandoned on 6/18/21 Doc 815.

   189      RECEIVABLE FROM ENCHANTED H DEVELOPR FEE                                          200,000.00                       200,000.00           OA                                 0.00                        FA
            This asset was abandoned on 6/18/21 Doc 815.

   190      RECEIVABLE FROM ENCHANTED HILLS                                                   244,564.37                       244,564.37           OA                                 0.00                        FA
            This asset was abandoned on 6/18/21 Doc 815.

   191      RECEIVABLE FROM ESTERO MEMORY CARE                                            1,222,438.85                       1,222,438.85           OA                                 0.00                        FA
            This asset was abandoned on 6/18/21 Doc 815.

   192      RECEIVABLE FROM FLOWER MOUND AUTUMN LEAVES, L.P.                              2,029,877.62                       2,029,877.62           OA                                 0.00                        FA
            This asset was abandoned on 6/18/21 Doc 815.

   193      RECEIVABLE FROM FOSSIL CREEK MEMORY CARE LLC                                        2,374.76                         2,374.76           OA                                 0.00                        FA
            This asset was abandoned on 6/18/21 Doc 815.

   194      RECEIVABLE FROM FRANKLIN                                                           86,196.86                        86,196.86           OA                                 0.00                        FA
            This asset was abandoned on 6/18/21 Doc 815.

   195      RECEIVABLE FROM GAR LANDCO                                                         32,449.40                        32,449.40           OA                                 0.00                        FA
            This asset was abandoned on 6/18/21 Doc 815.

   196      RECEIVABLE FROM GEORGETOWN MEMORY CARE                                             13,253.36                        13,253.36           OA                                 0.00                        FA
            This asset was abandoned on 6/18/21 Doc 815.

   197      RECEIVABLE FROM GLEN ELLYN AUTUMN LEAVES                                            2,056.18                         2,056.18           OA                                 0.00                        FA
            This asset was abandoned on 6/18/21 Doc 815.

   198      RECEIVABLE FROM GREENVILLE MEMORY CARE                                            639,420.45                       639,420.45           OA                                 0.00                        FA
            This asset was abandoned on 6/18/21 Doc 815.
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Case No.:    19-31484-SGJ-7                                                                                                      Trustee Name:       (631510) Diane G. Reed
Case Name:      THE LASALLE GROUP, INC.                                                                                          Date Filed (f) or Converted (c): 09/16/2020 (c)
                                                                                                                                 § 341(a) Meeting Date:      11/03/2020
For Period Ending:    06/30/2022                                                                                                 Claims Bar Date: 02/03/2021

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                                          Asset Description                            Petition/                Estimated Net Value          Property Formally         Sale/Funds                Asset Fully
                               (Scheduled And Unscheduled (u) Property)              Unscheduled           (Value Determined By Trustee,        Abandoned            Received by the          Administered (FA)/
                                                                                        Values                Less Liens, Exemptions,       OA=§554(a) abandon.          Estate                Gross Value of
  Ref. #                                                                                                          and Other Costs)                                                            Remaining Assets

   199      RECEIVABLE FROM LEADING LIFE SENIOR LIVING INC.                                   326,691.83                       326,691.83           OA                                 0.00                        FA
            This asset was abandoned on 6/18/21 Doc 815.

   200      RECEIVABLE FROM LEE'S SUMMIT                                                      116,840.48                       116,840.48           OA                                 0.00                        FA
            This asset was abandoned on 6/18/21 Doc 815.

   201      RECEIVABLE FROM MONARCH POA                                                         3,182.55                         3,182.55           OA                                 0.00                        FA
            This asset was abandoned on 6/18/21 Doc 815.

   202      RECEIVABLE FROM MEYERLAND                                                         872,680.82                       872,680.82           OA                                 0.00                        FA
            This asset was abandoned on 6/18/21 Doc 815.

   203      RECEIVABLE FROM NAPLES MEMORY CARE                                                 37,236.76                        37,236.76           OA                                 0.00                        FA
            This asset was abandoned on 6/18/21 Doc 815.

   204      RECEIVABLE FROM NORTH AUSTIN MEMORY CARE                                           20,707.76                        20,707.76           OA                                 0.00                        FA
            This asset was abandoned on 6/18/21 Doc 815.

   205      RECEIVABLE FROM PEARLAND MEMORY CARE LLC                                      4,079,669.08                       4,079,669.08           OA                                 0.00                        FA
            This asset was abandoned on 6/18/21 Doc 815.

   206      RECEIVABLE FROM RIVERSTONE MEMORY CARE LLC                                    1,666,778.42                       1,666,778.42           OA                                 0.00                        FA
            This asset was abandoned on 6/18/21 Doc 815.

   207      RECEIVABLE FROM SARASOTA                                                          467,890.12                       467,890.12           OA                                 0.00                        FA
            This asset was abandoned on 6/18/21 Doc 815.

   208      RECEIVABLE FROM SOUTH AUSTIN                                                      100,458.59                       100,458.59           OA                                 0.00                        FA
            This asset was abandoned on 6/18/21 Doc 815.

   209      RECEIVABLE FROM ST CHARLES AUTUMN LEAVES                                          883,917.04                       883,917.04           OA                                 0.00                        FA
            This asset was abandoned on 6/18/21 Doc 815.

   210      RECEIVABLE FROM STOCKBRIDGE AUTUMN LEAVES                                     1,406,913.76                       1,406,913.76           OA                                 0.00                        FA
            This asset was abandoned on 6/18/21 Doc 815.

   211      RECEIVABLE FROM STONE OAK AUTUMN LEAVES                                       1,164,631.96                       1,164,631.96           OA                                 0.00                        FA
            This asset was abandoned on 6/18/21 Doc 815.
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Case No.:    19-31484-SGJ-7                                                                                                                Trustee Name:       (631510) Diane G. Reed
Case Name:      THE LASALLE GROUP, INC.                                                                                                    Date Filed (f) or Converted (c): 09/16/2020 (c)
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                                            Asset Description                                    Petition/                Estimated Net Value          Property Formally         Sale/Funds                Asset Fully
                                 (Scheduled And Unscheduled (u) Property)                      Unscheduled           (Value Determined By Trustee,        Abandoned            Received by the          Administered (FA)/
                                                                                                  Values                Less Liens, Exemptions,       OA=§554(a) abandon.          Estate                Gross Value of
  Ref. #                                                                                                                    and Other Costs)                                                            Remaining Assets

   212      RECEIVABLE FROM SUGARLOAF AUTUMN LEAVES                                                 1,538,830.75                       1,538,830.75           OA                                 0.00                        FA
            This asset was abandoned on 6/18/21 Doc 815.

   213      RECEIVABLE FROM THE MEMORY CARE FOUNDATION                                                  394,858.30                       394,858.30           OA                                 0.00                        FA
            This asset was abandoned on 6/18/21 Doc 815.

   214      RECEIVABLE FROM TLG EEPP, LLC                                                               293,542.88                       293,542.88           OA                                 0.00                        FA
            This asset was abandoned on 6/18/21 Doc 815.

   215      RECEIVABLE FROM TULSA MEMORY CARE LLC                                                   2,277,921.00                       2,277,921.00           OA                                 0.00                        FA
            This asset was abandoned on 6/18/21 Doc 815.

   216      RECEIVABLE FROM VENICE                                                                      432,104.75                       432,104.75           OA                                 0.00                        FA
            This asset was abandoned on 6/18/21 Doc 815.

   217      RECEIVABLE FROM VERNON HILLS MEMORY CARE LLC                                                661,395.00                       661,395.00           OA                                 0.00                        FA
            This asset was abandoned on 6/18/21 Doc 815.

   218      RECEIVABLE FROM WEST HOUSTON AUTUMN LEAVES                                              3,002,877.91                       3,002,877.91           OA                                 0.00                        FA
            This asset was abandoned on 6/18/21 Doc 815.

   219      RECEIVABLE FROM WESTOVER HILLS MEMORY CARE                                              1,309,050.66                       1,309,050.66           OA                                 0.00                        FA
            This asset was abandoned on 6/18/21 Doc 815.

   220      RECEIVABLE FROM WHEELING MEMORY CARE                                                    1,429,685.79                       1,429,685.79           OA                                 0.00                        FA
            This asset was abandoned on 6/18/21 Doc 815.

   221      RECEIVABLE FROM WINDWARD MEMORY CARE                                                        579,809.68                       579,809.68           OA                                 0.00                        FA
            This asset was abandoned on 6/18/21 Doc 815.

   222      RECEIVABLE FROM WINFIELD DESIGN, LLC                                                    2,126,738.32                       2,126,738.32           OA                                 0.00                        FA
            This asset was abandoned on 6/18/21 Doc 815.

   223      GOLF MEMBERSHIP                                                                              10,000.00                        10,000.00                                              0.00                        FA
            This asset is part of the sale of assets to Origin Bank (see Motion Doc #866 and
            Order Doc #894). See Asset #226.
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Case No.:    19-31484-SGJ-7                                                                                                                 Trustee Name:        (631510) Diane G. Reed
Case Name:      THE LASALLE GROUP, INC.                                                                                                     Date Filed (f) or Converted (c): 09/16/2020 (c)
                                                                                                                                            § 341(a) Meeting Date:       11/03/2020
For Period Ending:     06/30/2022                                                                                                           Claims Bar Date: 02/03/2021

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                                            Asset Description                                     Petition/                Estimated Net Value           Property Formally         Sale/Funds                Asset Fully
                                 (Scheduled And Unscheduled (u) Property)                       Unscheduled           (Value Determined By Trustee,         Abandoned            Received by the          Administered (FA)/
                                                                                                   Values                Less Liens, Exemptions,        OA=§554(a) abandon.          Estate                Gross Value of
  Ref. #                                                                                                                     and Other Costs)                                                             Remaining Assets

   224      CONSTANTCAREFAMILY.COM                                                                        Unknown                                0.00                                              0.00                        FA
            Internet domain names & websites -- CONSTANTCAREFAMILY.COM. This
            asset is part of the sale of assets to Origin Bank (see Motion Doc #866 and Order
            Doc #894). See Asset #226.

   225      Unscheduled Citibank account (u)                                                             107,855.51                       107,855.51                                       107,855.51                          FA
            Wire from Citibank for turnover of unscheduled bank account funds.

   226      Assets sold to Origin Bank                                                                         0.00                       510,000.00                                       135,000.00                          FA
            Assets sold to Origin Bank

   227      Adv. Proceeding 21-03063 Reed v. TIB (u)                                                       1,000.00                          1,000.00                                              0.00                        FA
            This asset is part of the sale of assets to Origin Bank (see Motion Doc #866 and
            Order Doc #894). See Asset #226.

   228      Adv. proceeding 21-03064 Reed v. BOKF (u)                                                      1,000.00                          1,000.00                                              0.00                        FA
            This asset is part of the sale of assets to Origin Bank (see Motion Doc #866 and
            Order Doc #894). See Asset #226.

   229      Adv. proceeding 21-03065 Reed v. TLG Employee Equity Participation Plan (u)                    1,000.00                          1,000.00                                       10,000.00                          FA
            This asset is part of the sale of assets to Origin Bank (see Motion Doc #866 and
            Order Doc #894). See Asset #226. Adversary case closed 4/29/22.

   230      Adv. proceeding 21-03066 Reed v. Warren (u)                                                    1,000.00                          1,000.00                                       58,300.00                          FA
            This asset is part of the sale of assets to Origin Bank (see Motion Doc #866 and
            Order Doc #894). See Asset #226. Adversary case closed 4/25/22.

   231      Adv. proceeding 21-03080 Reed v. MWW Partners Consulting (u)                                  25,000.00                         25,000.00                                              0.00                        FA
            Adversary proceeding closed 7/25/22. (See asset #232 -- Cariloop stock shares.)

   232      Cariloop Stock Shares (u)                                                                          0.00                         35,000.00                                              0.00                35,000.00
            Unscheduled asset.

  232       Assets               Totals        (Excluding unknown values)                          $43,176,387.81                      $43,721,387.81                                   $311,155.51                   $35,000.00
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Case Name:     THE LASALLE GROUP, INC.                                                                                   Date Filed (f) or Converted (c): 09/16/2020 (c)
                                                                                                                         § 341(a) Meeting Date:   11/03/2020
For Period Ending:   06/30/2022                                                                                          Claims Bar Date: 02/03/2021


      Major Activities Affecting Case Closing:
                                  7/29/22 -- This case was commenced by the filing of a voluntary Chapter 11 petition on May 2, 2019. On September 16, 2020, the case was converted
                                  to Chapter 7. The trustee is holding $201,200.65 in this case. The trustee has employed Reed & Elmquist, P.C. ("R&E") to assist her in the
                                  investigation of the debtor's assets, liabilities and financial affairs. As a result of this investigation R&E filed on behalf of the trustee four avoidance
                                  actions. The trustee thereafter sold to Origin Bank the claims in these avoidance actions, as well as substantially all of the remaining assets of the
                                  LaSalle bankruptcy estate for the cash sum of $135,000.00 plus certain retained interests in the four avoidance actions. This purchase and sale
                                  transaction closed on March 7, 2022, and the trustee received the initial cash consideration of $135,000. Thereafter the trustee received $68,300 based
                                  upon her retained interests in two of the avoidance actions. On November 2, 2021, the trustee filed an adversary proceeding (the “MWW Adversary”)
                                  against MWW Partners Consulting, LLC ("MWW") to avoid a transfer by LaSalle to MWW of LaSalle's preferred shares in Cariloop, Inc. (the “Cariloop
                                  Shares”). The MWW Adversary was later settled and the transfer of the Cariloop Shares to MWW was rescinded. The trustee has recently filed a
                                  motion to approve a sale of the Cariloop Shares to Cariloop for the sum of $35,000. A hearing has been scheduled on this motion for August 15, 2022.

      Initial Projected Date Of Final Report (TFR):          12/31/2021                                  Current Projected Date Of Final Report (TFR):              03/31/2023
